                              Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 1 of 63

JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
LARRY KIRKLAND                                                                                                USAA CASUALTY INSURANCE COMPANY


    (b) County of Residence of First Listed Plaintiff             Montgomery                                  County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Adam S. Barrist, Esq., 215-432-8829
P.O. Box 1820, Media, PA 19063

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 U.S.C §1332
VI. CAUSE OF ACTION Brief description of cause:
                                           Motor vehicle collision in Cheltenham Township, PA.
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                         In excess of $150,000.00                 JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
03/12/2021                                                              /s/ ASB3587
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
       Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 2 of 63




     LARRY KIRKLAND
                 Plaintiff

     USAA CASUALTY INSURANCE COMPANY
                Defendant




03/12/2021                   /s/ Adam S. Barrist, Esq.   LARRY KIRKLAND


215-432-8829                  267-247-3098               abarrist@barristfirm.com
                              Case 2:21-cv-01206-HB
                                                UNITEDDocument   1 Filed
                                                       STATES DISTRICT   03/12/21 Page 3 of 63
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                          236 MacDonald Avenue, Wyncote, PA 19095
Address of Plaintiff: ______________________________________________________________________________________________
                                     9800 Fredericksburg Road, San Antonio, TX 78288
Address of Defendant: ____________________________________________________________________________________________
                                                                 Cheltenham Township, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           03/12/2021
DATE: __________________________________                     __________________________________________                                    88645
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                        
                                                                                            ✔    5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

         Adam S. Barrist, Esq.
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

     
     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


           03/12/2021
DATE: __________________________________                     __________________________________________                                    88645
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 4 of 63




                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                          :
LARRY KIRKLAND                                            : CIVIL ACTION
236 MacDonald Ave.                                        :
Wyncote, PA 19095                                         : No.________
                                                          :
                      Plaintiff,                          :
                                                          :
       v.                                                 :
                                                          :
USAA CASUALTY INSURANCE COMPANY                           :
9800 Fredericksburg Road                                  :
San Antonio, TX 78288                                     :
                                                          :
                      Defendant.                          :
                                                          :


                                         COMPLAINT

       Plaintiff, Larry Kirkland (“Mr. Kirkland” or “Plaintiff”), through his undersigned

attorney, brings the following Complaint against the above-captioned Defendant.


                                            PARTIES

  1. Plaintiff is an adult individual, citizen, resident and domiciliary of the Commonwealth of

      Pennsylvania, with a home address of 236 MacDonald Ave., Wyncote, PA 19095.

  2. Defendant, USAA Casualty Insurance Company (“USAA”), is, upon information and belief,

      a corporation, partnership or other business entity that is incorporated in and a citizen of the

      State of Texas and has a principal place of business of 9800 Fredericksburg Road, San

      Antonio, TX 78288.
       Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 5 of 63




                              JURISDICTION AND VENUE

3. Jurisdiction is conferred pursuant to 28 U.S.C §1332 as Plaintiff is a citizen, resident and

   domiciliary of the Commonwealth of Pennsylvania and Defendant is a corporation,

   partnership or other business entity with a place of incorporation, principal place of

   business of and citizenship of the State of Texas.

4. There is, therefore, complete diversity between all Plaintiffs and all Defendants.

5. The amount in controversy exceeds the sum of $75,000.00, exclusive of interest, fees and

   costs.


6. In accordance, inter alia, with Golden v. Golden, 382 F.3d 348 (3d Cir.2004) and its

   progeny, despite the fact that the USAA underinsured motorist policy that is the subject of

   this litigation only carries a $75,000.00 limit ($25,000.00 stacked times three), since

   Plaintiff is pleading causes of action for statutory Bad Faith, seeking an entitlement, inter

   alia, to punitive damages, the amount in controversy requirement of 28 U.S.C. §1332(a) is

   satisfied.

7. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) and (2), as the personal

   injuries that are the subject of this litigation occurred in Cheltenham Township, PA, within

   this District.

8. Further, to the extent that USAA seeks to rely upon a certain forum selection clause in the

   insurance contact in question, as referred to, infra, jurisdiction in the federal court system

   and venue in the United States District Court for the Eastern District of Pennsylvania, in

   particular, are proper, in light of, inter alia, this court’s decisions in Bennett v. USAA, No.

   18-CV-3943 AB, 2018 U.S. Dist. LEXIS 209329 (E.D.Pa. December 12, 2018) and

   Fienman v. USAA, No. 20-CV-5170 MAK, 2020 U.S. Dist. LEXIS 202401 (E.D.Pa.

   October 30, 2020).
                                              2
         Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 6 of 63




                                            FACTS


9. On September 13, 2020, Mr. Kirkland, a passenger in Ronald Daniels' ("Mr. Daniels")

   vehicle, was severely injured when Lon Vaneaton ("Mr. Vaneaton") negligently struck Mr.

   Daniels' vehicle from behind on Old York Road at Spring Avenue in Cheltenham Township,

   PA.

10. From the scene of the collision, Mr. Kirkland was taken via ambulance to the Abington

   Hospital Emergency Room.

11. Mr. Vaneaton/his vehicle were uninsured at the time of the collision.

12. Mr. Kirkland's first-party auto policy through USAA, (policy # 00857 84 85C 7101 8) carries

   an Uninsured Motorist ("UM") limit of $25,000.00/$50,000.00, stacked times three vehicles.

   A true and correct copy of the USAA Policy and Declarations Page is attached hereto,

   incorporated herein and marked as Exhibit "A."

13. Accordingly, $75,000.00 in UM benefits are available to Mr. Kirkland under his USAA

   policy.

14. Mr. Kirkland elected on his USAA policy and is bound by the full-tort option. See, Exhibit

   "A."

15. Prior to the institution of this suit, Mr. Kirkland accepted an offer of a full tender of Mr.

   Daniels' UM bodily injury insurance limits through GEICO Insurance Company.

16. Mr. Kirkland made a formal demand of USAA for UM benefits commensurate with the

   damages that he has sustained as the result of the subject collision.

17. USAA, however, has made a final "take it or leave it" offer of $2,500.00 for a resolution of

   Mr. Kirkland's UM claims.

18. As set forth in greater detail, below, USAA's final "take it or leave it" offer of $2,500.00 does

   not represent the fair value of Mr. Kirkland's damages, even taking into consideration the
                                               3
       Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 7 of 63




   amount of the GEICO UM policy already tendered to Mr. Kirkland.

19. Mr. Kirkland, as a passenger, was not charged nor deemed at fault for his role in the subject

   collision.

20. Mr. Vaneaton was deemed at-fault in the subject collision by the responding Cheltenham

   Township Police Department.

21. Such violent collision caused Mr. Kirkland to a) sustain the permanent injuries described

   below, that have caused his body to not heal or function normally with further medical

   treatment; and b) suffer significant financial harm.

22. As the direct and proximate cause of Mr. Vaneaton's negligence as stated above, Mr. Kirkland

   has suffered severe permanent physical injury and financial loss.

23. The injuries that Mr. Kirkland has sustained are permanent in nature. Mr. Kirkland has

   suffered great physical and mental pain and anguish, and in all reasonable probability, will

   continue to suffer in this manner for a long time in the future, if not for the balance of his

   natural life.

24. As a further result of the above negligent acts committed by Mr. Vaneaton, Mr. Kirkland has

   incurred and will continue to incur substantial medical expenses for medical care and

   attention and will continue to incur additional medical expenses into the foreseeable future.

25. In addition, Mr. Kirkland has suffered other economic injury and will likely continue to suffer

   such economic injury.

26. Mr. Vaneaton operated his vehicle in such a reckless, careless, and/or negligent manner as to

   have caused the aforesaid collision to occur.

27. Mr. Vaneaton had a duty to Mr. Kirkland to not operate his vehicle in such a reckless,

   careless, and/or negligent manner.

28. Mr. Vaneaton breached said duty, as set forth below.

                                              4
       Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 8 of 63




29. As a direct and proximate result of the aforesaid acts, omissions, recklessness, carelessness,

   and/or negligence on the part of Mr. Vaneaton, Mr. Kirkland suffered severe personal

   injuries; has been and will be in the future, made to endure great pain and suffering, both

   physical and mental in nature, has been and will be in the future required to expend great

   sums of money for medical services; has been and will be in the future prevented from

   attending to his regular activities, duties and responsibilities; has been and will in the future

   be made to suffer lost earnings and other pecuniary loss.

30. The aforesaid accident was caused by the negligence, carelessness, and/or recklessness of

   Mr. Vaneaton, because he:

       a. Failed to keep his vehicle under control at all relevant times;

       b. Was driving at an excessive speed under the circumstances;

       c. Violated the Assured Clear Distance Ahead Rule;

       d. Caused a collision to occur;

       e. Disregarded traffic signals and signs;

       f. Failed to keep a proper lookout;

       g. Caused a violent collision to take place; and

       h. Otherwise failed to exercise due care under the circumstances.

31. As the result of the above-referenced accident, Mr. Kirkland suffered painful and serious

   injuries, including, but not limited to:

        a. disc protrusions at L2-3, L3-4 and L5-S1;

        b. radiculopathy;

        c. cervicalgia;

        d. nerve damage throughout his body;

        e. strains, sprains, disc bulges and disc herniations throughout his body, the extent of

                                              5
       Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 9 of 63




             which is presently unknown;

        f.   torn ligaments and tendons throughout his body, the extent of which is presently

             unknown;

        g. head injuries, the extent of which is presently unknown; and

        h. emotional harm, the extent of which is presently unknown.

32. As a result of such accident, Mr. Kirkland has incurred medical expenses and will continue

   to incur said medical expenses for an indefinite time into the future.

33. As a result of such accident, Mr. Kirkland suffered grievous pain and suffering and may

   continue to suffer same for an indefinite time into the future.

34. As a further result of such accident, Mr. Kirkland has suffered and will continue to suffer a

   loss of life’s pleasures.



                               COUNT ONE – BAD FAITH

35. Plaintiff incorporates, by reference, the foregoing paragraphs, as though set forth fully

   herein.

36. Mr. Kirkland was an “insured” of USAA, within the meaning of 42 Pa.C.S.A. §8371,

   which statute imposes a duty upon an insurance company to act in good faith in dealing

   with Mr. Kirkland, including but not limited to the handling of his uninsured motorist

   claim.

37. USAA’s duty to act in good faith included, without limitation, the obligation to act with

   reasonable promptness in evaluating and responding to Mr. Kirkland’s claims and with

   reasonable fairness.

38. In view of the foregoing, USAA acted in bad faith as follows:

        a. Failure to make anything more than a de minimus offer of settlement after having

                                              6
Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 10 of 63




    been presented with full and complete documentary proof of 1) the extent of Mr.

    Kirkland’s collision-related injuries and permanent disfigurement; 2) the clear

    liability on the part of the tortfeasor; and 3) the extent of the host vehicle’s bodily

    injury insurance limits and that such limits had been tendered;

 b. Failure to properly investigate Mr. Kirkland’s claim;

 c. Failure to properly consider Mr. Kirkland’s full-tort status;

 d. Failure to properly consider evidence supplied by Mr. Kirkland and his counsel in

    support of his claim;

 e. Causing Mr. Kirkland to suffer undue hardship as a result of reckless, wanton and

    arbitrary claims-handling practices;

 f. Willfully neglecting to consider or process evidence in an effort to save from

    paying Mr. Kirkland the benefits to which he was legally entitled;

 g. Adopting a company practice of intentionally undervaluing uninsured motorist

    claims and delaying paying said claims for an unreasonable period of time;

 h. Delaying and refusing to pay Mr. Kirkland’s claim despite having no medical or

    legal reason not to;

 i. Forcing Mr. Kirkland to file suit to recover UM benefits owing to him;

 j. Failing to make reasonable and fair offers of settlement of Mr. Kirkland’s UM

    claim;

 k. Making representations that were unreasonable in light of the facts and

    circumstances surrounding Mr. Kirkland’s claims;

 l. Making offers of settlement that were unfair and unreasonable in light of the

    injuries and losses sustained by Mr. Kirkland as a result of the collision;

 m. Breaching covenants of good faith and fair dealing;

                                      7
          Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 11 of 63




            n. Failing to pay all sums of money owed to Mr. Kirkland;

            o. Causing Mr. Kirkland unnecessary and undue hardships;

            p. Engaging in unfair settlement negotiations with their insured;

            q. Maintaining positions contrary to the policy, facts and evidence; and

            r. Committing various violations of the Pennsylvania’s Unfair Insurance Practices

                 Act, 40 P.S. §1171.1 et seq. and related regulations including but not limited to The

                 Unfair Claim Settlement Practices Regulations, 31 §146.1 et seq.

   39. USAA’s actions have been in reckless disregard of Mr. Kirkland’s rights, and have been

       willful, wanton and outrageous.


       WHEREFORE, Plaintiff, Larry Kirkland, demands judgment against USAA, in an amount

in excess of $150,000.00, plus punitive damages, costs, fees and whatever additional relief that this

Honorable Court deems just and appropriate.


                           COUNT TWO – BREACH OF CONTRACT

   40. Plaintiff incorporates, by reference, the foregoing paragraphs, as though set forth fully

       herein.

   41. Mr. Kirkland is a named insured of USAA UM policy (policy # 00857 84 85C 7101 8),

       which provides for UM limits of $25,000.00/$50,000.00, stacked times three vehicles, for

       a total of $75,000.00 in UM coverage. See, Exhibit “A.”

   42. USAA is and was duly licensed to engage in the Commonwealth of Pennsylvania in the

       sale, issuance and distribution of policies of automobile insurance providing various forms

       of coverage to drivers, passengers and owners of automobiles in the Commonwealth of

       Pennsylvania.

   43. USAA did issue for consideration, policy # 00857 84 85C 7101 8, which provides,

                                                  8
       Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 12 of 63




   pursuant to Pennsylvania law, for UM coverage, and under said coverage, USAA agreed to

   pay all sums which Mr. Kirkland would legally be entitled to recover in the event of an

   uninsured motorist scenario, such as the one that exists in this case.

44. USAA is, therefore, liable to Mr. Kirkland, as a named insured under the USAA policy for

   his injuries, damages and losses caused by the negligence of Mr. Vaneaton, who was

   uninsured at the time of the subject collision.

45. Despite having made a demand under Mr. Kirkland’s USAA UM policy, USAA has

   refused to properly negotiate a reasonable settlement for the injuries and damages in the

   subject collision, pursuant to the aforesaid contract of insurance.

46. In accordance with the policy of insurance (policy # 00857 84 85C 7101 8), which Mr.

   Kirkland and USAA entered into, for valuable consideration, Mr. Kirkland made a claim

   for benefits under the policy at issue.

47. Upon information and belief, USAA improperly, unjustifiably and unconscionably

   attempted to deny benefits due and/or failed to timely pay benefits due under the policy.

48. USAA misrepresented and deliberately under-evaluated Mr. Kirkland’s UM claim.

49. USAA has refused and failed to pay the reasonable value of Mr. Kirkland’s UM claim.

50. USAA has wrongfully withheld benefits owed to Mr. Kirkland pursuant to the policy.

51. USAA did so by knowingly evaluating its financial interests above the interests of its

   insured.

52. As a further consequence of USAA’s breach of the Insurance Policy, USAA has been

   unjustifiably enriched to the detriment of Mr. Kirkland.

53. As a further consequence of USAA’s breach of the Insurance Policy, Mr. Kirkland has

   suffered losses, including but not limited to loss of use of benefits payable.

54. The actions of USAA described in this Complaint represent a breach of contract.

                                              9
          Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 13 of 63




   55. As a result of USAA’s actions as described, they breached their obligation of good faith

       and fair dealing.

   56. Mr. Kirkland had been damaged in a sum not yet fully determined, but in any event to be

       proved at the time of trial.


       WHEREFORE, Plaintiff, Larry Kirkland, demands judgment against USAA, in an amount

in excess of $150,000.00, plus costs, fees and whatever additional relief that this Honorable Court

deems just and appropriate.



                                                THE BARRIST FIRM, LLC




                                                By: /s/ ASB3587
                                                Adam S. Barrist, Esq.
                                                THE BARRIST FIRM, LLC
                                                P.O. Box 1820
                                                Media, PA 19063

                                                Attorney for Plaintiff

Date: March 12, 2021




                                                10
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 14 of 63




                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                        :
 LARRY KIRKLAND                                         : CIVIL ACTION
 7612 Massey Way #A                                     :
 Elkins Park, PA 19027                                  : No.________
                                                        :
                       Plaintiff,                       :
                                                        :
       v.                                               :
                                                        :
 USAA CASUALTY INSURANCE COMPANY                        :
 9800 Fredericksburg Road                               :
 San Antonio, TX 78288                                  :
                                                        :
                       Defendant.                       :
                                                        :

                                       JURY DEMAND

       Plaintiff, Larry Kirkland, hereby demands a trial by twelve (12) jurors.


                                               Respectfully submitted,

                                               THE BARRIST FIRM, LLC




                                               By: /s/ ASB3587
                                               Adam S. Barrist, Esq.
                                               THE BARRIST FIRM, LLC
                                               P.O. Box 1820
                                               Media, PA 19063

                                               Attorney for Plaintiff

Date: March 12, 2021




                                               11
Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 15 of 63




EXHIBIT "A"
                   Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 16 of 63




0901119ca9c479b5
                   Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 17 of 63




0901119ca9c479b5
                   Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 18 of 63




0901119ca9c479b5
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 19 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      01
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 20 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      02
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 21 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      03
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 22 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      04
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 23 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      05
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 24 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      06
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 25 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      07
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 26 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      08
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 27 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      09
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 28 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      10
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 29 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      11
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 30 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      12
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 31 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      13
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 32 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      14
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 33 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      15
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 34 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      16
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 35 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      17
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 36 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      18
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 37 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      19
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 38 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      20
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 39 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      21
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 40 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      22
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 41 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      23
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 42 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      24
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 43 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      25
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 44 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      26
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 45 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      27
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 46 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      28
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 47 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      29
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 48 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      30
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 49 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      31
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 50 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      32
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 51 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      33
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 52 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      34
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 53 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      35
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 54 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      36
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 55 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      37
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 56 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      38
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 57 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      39
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 58 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      40
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 59 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      41
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 60 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      42
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 61 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      43
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 62 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      44
                                                                       Control No.: 21022482
            Case 2:21-cv-01206-HB Document 1 Filed 03/12/21 Page 63 of 63




0901119cab6aca80
                                                                         CasePOLICY
                                                                               ID: 210200246
                                                                                      45
                                                                       Control No.: 21022482
